        Case 5:19-cv-00552-RBF Document 15 Filed 09/03/19 Page 1 of 6



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

VICTOR MEJIA RIOS, individually;               §
W.D.M.R., individually and by and through      §
his Parent, VICTOR MEJIA RIOS; JORGE           §
LUIS MARTINEZ MARTINEZ,                        §
individually; J.L.M.F., individually and by    §
and through his Parent, JORGE LUIS             §
MARTINEZ MARTINEZ; TOMAS                       §
ANTONIO OLIVEROS, individually;                §
A.R.O., individually and by and through his    §
Parent, TOMAS ANTONIO OLIVEROS;                §
WILDER XITUMUL GARCIA,                         §
individually; A.M.X.C., individually and by    §
and through his Parent, WILDER                 §
XITUMUL GARCIA; PEDRO CARRILLO                 §
JIMENEZ, individually; M.C.J., individually    §
and by and through his Parent, PEDRO           §
CARRILLO JIMENEZ; NELSON                       §
CAZALEGNO PAZ, individually; O.J.C.S.,         §
individually and by and through his Parent,    §
NELSON CAZALEGNO PAZ; JOSE                     §
PINEDA RIVERA, individually; J.M.P.A.,         §
individually and by and through his Parent,    §    CASE NO. 5:19-cv-00552-XR
JOSE PINEDA RIVERA; WILSON                     §
PINEDA GONZALES, individually;                 §
W.E.P.S., individually and by and through      §
his Parent, WILSON PINEDA GONZALES;            §
NOE WALTER PEREZ GONSALEZ,                     §
individually; G.L.P.G., individually and by    §
and through his Parent, NOE WALTER             §
PEREZ GONSALEZ; MARVIN REYES                   §
PORTILLO, individually; M.R.R.R.,              §
individually and by and through his Parent,    §
MARVIN REYES PORTILLO; RUBIER                  §
NATO DE OLIVEIRA, individually;                §
G.H.D.O., individually and by and through      §
his Parent, RUBIER NATO DE OLIVEIRA;           §
OBDULIO VASQUEZ PUAC, individually;            §
T.P.C., individually and by and through his    §
Parent, OBDULIO VASQUEZ PUAC;                  §
ELMER VELIZ RIVERA, individually;              §
E.Y.V.B., individually and by and through      §
his Parent, ELMER VELIZ RIVERA,                §
                                               §

                                              -1-
          Case 5:19-cv-00552-RBF Document 15 Filed 09/03/19 Page 2 of 6



                                                    §
         Plaintiff,                                 §
                                                    §
 v.                                                 §
                                                    §
 THE GEO GROUP, INC.,                               §
                                                    §
         Defendant.                                 §


                      AGREED SCHEDULING RECOMMENDATIONS

The parties recommend that the following deadlines be entered in the scheduling order to control
the course of this case:

MOTIONS FOR LEAVE TO AMEND PLEADINGS.

The deadline for Plaintiff(s) to file a motion seeking leave to amend pleadings; or to join parties
is within 60 days of this Court’s final decision on GEO’s Motion to Dismiss.

The deadline for Defendant(s) to file a motion (1) to designate responsible third parties, pursuant
to Texas Civil Practices & Remedies Code § 33.004(a); (2) seeking leave to amend pleadings; or
(3) to join parties is within 75 days of this Court’s final decision on GEO’s Motion to Dismiss.

EXPERTS

All parties asserting claims for relief shall file their designation of testifying experts and serve on
all parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) within 180 days of
this Court’s final decision on GEO’s Motion to Dismiss.

Parties resisting claims for relief shall file their designation of testifying experts and serve on all
parties, but not file, the materials required by Fed. R. Civ. P. 26(a)(2)(B) within 240 days of this
Court’s final decision on GEO’s Motion to Dismiss.

All parties shall file all designations of rebuttal experts and serve on all parties the material
required by Fed. R. of Civ. P. 26(a)(2)(B) for such rebuttal experts, to the extent not already
served, within 30 days of receipt of the report of the opposing expert.

An objection to the reliability of an expert’s proposed testimony under Federal Rule of Evidence
702 shall be made by motion, specifically stating the basis for the objection and identifying the
objectionable testimony, within 21 days from the receipt of the written report of the expert’s
proposed testimony, or within 11 days from obtaining a copy of the expert’s deposition, if a
deposition is taken, whichever is later.

The deadline for filing supplemental reports required under Fed. R. Civ. P. 26(e) is within 300
days of this Court’s final decision on GEO’s Motion to Dismiss.



                                                 -2-
          Case 5:19-cv-00552-RBF Document 15 Filed 09/03/19 Page 3 of 6



WITNESS LIST, EXHIBIT LIST, AND PRETRIAL DISCLOSURES

The deadline for filing Rule 26(a)(3) disclosures is December 18, 2020.

The deadline for filing objections under Rule (26)(a)(3) is January 4, 2021. Any objections not
made will be deemed waived.

COMPLETION OF DISCOVERY

Written discovery requests are not timely if they are filed so close to this deadline that under the
Federal Rules of Civil Procedure the response would not be due until after the deadline.

The deadline for the completion of all discovery is within 300 days of this Court’s final decision
on GEO’s Motion to Dismiss.

ALTERNATIVE DISPUTE RESOLUTION (ADR) REPORT

A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be filed
within one hundred (100) days of this Court’s final decision on GEO’s Motion to Dismiss.

The parties asserting claims for relief shall submit a written offer of settlement to opposing
parties within sixty (60) days of this Court’s final decision on GEO’s Motion to Dismiss, and
each opposing party shall respond, in writing within ninety (90) days of this Court’s final
decision on GEO’s Motion to Dismiss.

All offers of settlement are to be private, not filed. The parties are ordered to retain the written
offers of settlement and response as the Court will use these in assessing attorneys' fees and costs
at the conclusion of the proceedings.

If a settlement is reached, the parties should immediately notify the Court so the case may be
removed from the Court’s trial docket.

PRETRIAL MOTIONS

No motion (other than a motion in limine) may be filed after this date except for good cause. The
deadline to file motions (including dispositive motions and Daubert motions) is September 8,
2020. This deadline is also applicable to the filing of any summary judgment motion under Fed.
R. Civ. P. 56 and any defense of qualified immunity. Leave of court is automatically given to file
motions, responses, and replies not to exceed 30 pages in length. 8 Fed. R. Civ. P. 6(d) does not
apply to the time limits set forth in Local Rule CV-7 for responses and replies to motions.

JOINT PRETRIAL ORDER AND MOTION IN LIMINE

The deadline to file a Final Joint Pretrial Order and any motion in limine is November 24, 2020.

All attorneys are responsible for preparing the Final Joint Pretrial Order, which must contain the
following:



                                                -3-
          Case 5:19-cv-00552-RBF Document 15 Filed 09/03/19 Page 4 of 6



(1) a short statement identifying the Court’s jurisdiction. If there is an unresolved jurisdictional
question, state it;

(2) a brief statement of the case, one that the judge could read to the jury panel for an
introduction to the facts and parties;

(3) a summary of the remaining claims and defenses of each party;

(4) a list of facts all parties have reached agreement upon;

(5) a list of contested issues of fact;

(6) a list of the legal propositions that are not in dispute;

(7) a list of contested issues of law;

(8) a list of all exhibits expected to be offered. Counsel will make all exhibits available for
examination by opposing counsel. All documentary exhibits must be exchanged before the final
pre-trial conference. The exhibit list should clearly reflect whether a particular exhibit is objected
to or whether there are no objections to the exhibit;

(9) a list of the names and addresses of witnesses who may be called with a brief statement of the
nature of their testimony;

(10) an estimate of the length of trial;

(11) for a jury trial, include (a) proposed questions for the voir dire examination, and (b) a
proposed charge, including instructions, definitions, and special interrogatories, with authority;

(12) for a nonjury trial, include (a) proposed findings of fact and (b) proposed conclusions of
law, with authority;

(13) the signatures of all attorneys; and

(14) a place for the date and the signature of the presiding judge.

FINAL PRETRIAL CONFERENCE

The Final Pretrial Conference shall be held on January 4, 2021.

Motions in limine, if any, will be heard on this date. Counsel should confer prior to this hearing
on any issues raised in a motion in limine or the Joint Pretrial Order. Any party intending to use a
demonstrative exhibit should provide the same to opposing counsel at least 3 days prior to the
Final Pretrial conference so that if any objections or issues are raised about the demonstrative
exhibit, they can be addressed at the final pretrial conference.

TRIAL

The Trial Date is January 18, 2021.

                                                  -4-
Case 5:19-cv-00552-RBF Document 15 Filed 09/03/19 Page 5 of 6




                                  Respectfully submitted,

                                  NORTON ROSE FULBRIGHT US LLP


                                  By: /s/ Charles A. Deacon
                                     Charles A. Deacon
                                     State Bar No. [FILL IN]
                                     charlie.deacon@nortonrosefulbright.com
                                  300 Convent Street, Suite 2100
                                  San Antonio, Texas 78205
                                  Telephone: (210) 224-5575
                                  Telecopier: (210) 270-7205

                                      Mark T. Emery
                                      State Bar No. [FILL IN]
                                      Mark.emery@nortonrosefulbright.com
                                  799 9th St. NW, Suite 1000
                                  Washington, DC 20001

                                  Attorneys for Defendant
                                  The GEO Group, Inc.




                            -5-
          Case 5:19-cv-00552-RBF Document 15 Filed 09/03/19 Page 6 of 6



                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of September, 2019, I electronically filed the foregoing
instrument with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to the following counsel of record:



         Jule Rousseau                                     Manoj Govindaiah
         ARENT FOX LLP                                     Curtis FJ Doebbler
         1301 Avenue of the Americas, Floor 42             Refugee And Immigrant Center for
         New York, NY 10019                                Education and Legal Services
         212-484-3900                                      (RAICES)
         jule.rousseau@arentfox.com                        802 Kentucy Avenu
                                                           San Antonio, TX 78201
         Brandi G. M. Howard                               210-226-7722
         ARENT FOX LLP                                     manoj.govindaiah@raicestexas.org
         1717 K Street NW                                  curtis.doebbler@raicestexas.org
         Washington, DC 20006
         202-857-6000                                      Bridget Cambria
         brandi.howard@arentfox.com                        Karen Hoffman
                                                           Aldea - The People’s Justice Center
         Ismael Bautista                                   532 Walnut Street
         Jacob M. Gilbert                                  Reading, PA 19601
         ARENT FOX LLP                                     484-926-2014
         555 West Fifth Street, 48th Floor                 bridget@aldeapjc.org
         Los Angeles, CA 90013                             karen@aldeapjc.org
         213-629-7400
         ismael.bautista@arentfox.com
         jake.gilbert@arentfox.com




                                                  /s/ Charles A. Deacon
                                                  Charles A. Deacon




                                                -6-
